Case 3:21-cv-01980-CAB-JLB Document 4-3 Filed 11/23/21 PageID.96 Page 1 of 1




    TABLE OF EXHIBITS TO DECLARATION OF ASHOK RAMANI
     IN SUPPORT OF PLAINTIFF’S MOTION FOR A TEMPORARY
      RESTRAINING ORDER AND PRELIMINARY INJUNCTION


   Exhibit Description                                                Page
   No.

      1     Confidentiality, Non-Solicitation and Assignment of         4
            Inventions Agreement between Pfizer and Defendant
            Chun Xiao (Sherry) Li, dated August 22, 2016

      2     Mutual Arbitration and Class Waiver Agreement between       9
            Pfizer and Ms. Li

      3     Pfizer presentation titled “E2E Clinical Development +     15
            Submissions Playbook,” dated September 24, 2021

      4     Pfizer presentation titled “Pfizer Oncology Virtual        83
            Hematology Franchise Year Beginning Meeting,” dated
            February 21, 2021

      5     Pfizer “Clinical Development Plan Document,” dated         185
            July 6, 2021

      6     Pfizer presentation titled “Avelumab Case Study –          300
            Implementation of BLRM in Oncology Dose Finding
            Trials with Multiple Drug Combinations,” dated February
            20, 2019




                                       3
